           Case: 1:19-cv-02519 Document #: 43 Filed: 07/11/19 Page 1 of 2 PageID #:3724

                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

____________________________________
                                        )
General Tools & Instruments, LLC        )
                                        )           Case No. 1:19-cv-02519
              v.                        )
                                        )           Judge: Honorable Robert W. Gettleman
Does 1-2092, As Identified in Exhibit 2 )
                                        )           Magistrate: Honorable Sunil R. Harjani
                                        )
____________________________________)

                                         VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned counsel for

Plaintiff, General Tools & Instruments, LLC, hereby notifies this Court that the Plaintiff voluntarily dismisses

with prejudice any and all claims against the following defendants:

 Defendant                Merchant Name                          Email
 Doe 1180                 smallshop                              jianjian6868@126.com
 Doe 1361                 excellentgoods                         835862639@qq.com
 Doe 1742                 andylike                               bb61511293@163.com
 Doe 1590                 zhizhibeauty                           1533682470@qq.com
 Doe 1494                 coolscience                            leoyang10000@126.com
 Doe 1031                 skymartjapan                           con.sonrisa.0220@gmail.com
 Doe 1212                 fuzhouhaoyuecommercecoltd              yefang3227@hotmail.com
 Doe 1487                 muxigren                               muxingren1236@sina.com
 Doe 1494                 coolscience                            leoyang10000@126.com
 Doe 598                  The Southern Maple Trading Co.         info@thesouthernmaple.com
 Doe 886                  kingsdirect                            kd24service@hotmail.com
 Doe 959                  outletmalls_92                         tonygnat@hotmail.com
 Doe 1030                 simwood                                chenkai88@hotmail.com
 Doe 1033                 smurfs1985                             bianjianhao3227@hotmail.com
 Doe 1093                 us*dolls                               usdolls@126.com
 Doe 1190                 sallyfashiondresseslimited             sili2018@hotmail.com
 Doe 1192                 ksrplayerlimited                       184571991@qq.com
 Doe 1193                 chinese_style                          sili2019@hotmail.com
 Doe 1211                 义乌雅骏电子商务有限有限公司                         262372722@qq.com
 Doe 1235                 Axiaod                                 976425866@qq.com
 Doe 1251                 武汉瀛马科技有限公司                             3269977617@qq.com
 Doe 1256                 shenzhen3cdigital                      yangran5200@126.com
 Doe 1267                 广州陆顺电子科技有限公司店铺3                        lily2015602@163.com
 Doe 1282                 chinesepopularelement                  3132368606@qq.com
 Doe 1346                 smileyno1                              smileyno1@126.com
 Doe 1380                 Raitron                                raitron2016@yahoo.com
          Case: 1:19-cv-02519 Document #: 43 Filed: 07/11/19 Page 2 of 2 PageID #:3724

 Defendant             Merchant Name                   Email
 Doe 1387              优乐潮                             342650369@qq.com
 Doe 1421              simanfeiofficialstore           juyingmedia@126.com
 Doe 1444              cuiaiming77                     wangshili2110@126.com
 Doe 1485              2016_beautiful_bride            xdfashion94@163.com
 Doe 1526              aalucky                         shanyi654@163.com
 Doe 1643              sztopmall                       45008666@qq.com
 Doe 1765              hiesoo                          xuemeng654@163.com
 Doe 1768              koofar                          kunhua888888@163.com
 Doe 1778              moliz                           18173808927@sina.cn
 Doe 1880              ilm                             wish@ilmotor.com
 Doe 1891              richlogic1                      18611301056@163.com
 Doe 1897              joyfay                          service@joyfay.com
 Doe 1917              3chk                            info@ksrplayer.net
 Doe 1983              fashionposters                  qiuliangyou1971@outlook.com

Dated: July 11, 2019
                                                                Respectfully submitted,

                                                                   By:    /s/ Rishi Nair

                                                                              Rishi Nair
                                                                      ARDC # 6305871
                                                                        Kevin J. Keener
                                                             Keener & Associates, P.C.
                                                        161 N. Clark Street, Suite #1600
                                                                      Chicago, IL 60601
                                                                         (312) 375-1573
                                                            rishi.nair@keenerlegal.com
                                                             kevin.keener@keenerlegal.




                                               2
